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                     EXHIBIT A
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                                                                   Page 1

                     UNITED STATES DISTRICT COURT
                           DISTRICT OF ARIZONA


    LAWRENCE N. CHERRY ANd JUDY
    G. CHERRY, husband and wife,

             Plalntiffs,

                   \ZQ                    No . 2 : 15-cv- 0023 6- PGR


     UNITED STATES OF AMERICA;
     JOHN DOES AND JANE DOES I
     THROUGH X,


             De fendant s




                  DEPOSTTTON OF BOAZ M. RABTN, M.D

                             Tucson, Arizo:na
                             October 2, 2075
                                10:18 a.m.




(   coPY )


Prepared by:
FOLDY REPORTING
MICHAELA H. DAVIS/ RPR/ CRR
Certified Reporter
Certificate #50574
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                                                                           Page B

  1    one that deals with medical- negligence, carelessness/ lack
  2    of skill       and so forth.     Can you give me an idea of how
  3    many       of the disability    applications that you review are
  4    being reviewed for that, to make that determination?
  tr
  J                    MR. SMART: Objection to form.
  6                    You can ans\,{er if you understand.
  1                    THE WITNESS: No, I     didn't quite understand. If
  o    you can rephrase.
  9                    MR. SMART: I might offer         I think it's       called
10     a Compensation and Pension Exam, so that might be an
11     easier way to use that terminology.
72     BY MR. CURTIN:
13            a.       OkaY.     Of the compensation and pension exams
I4     that you do, how many of them or what percentage of them
15     are directed at the issue of whether the patient's
I6     disabitity is caused by negligence of the VA provider?
L1            ^
                       Tf    I understand correctly,   you ask me how many
18     1151 cases f do?
T9            O        Yeah.
20            A.       Oh.     One to two a month. And f've been doing
2I     them since, I don't know, 2000, 2002 period, something
))     like this.
23            O        Could I leave a couple of my business cards with
24     you or
L -)          A        I'm a qovernment employee.
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                                                                      Page Ll

  1               THE WITNESS: Yes, sir.

  2    BY MR. CURTIN:
  3        O.     And in this case/ some of the care that you were
  4    evaluating as far as the VA personnel involved was
  5    dermatology care; correct?
  6        A.     Yes. I believe this is the case, yeS.
  1        Q.     And the point I was starting with was do you
  B    know how it   is determined that you are qualrfied to
  9    evaluate the carefessness/ negligence, lack of skiLl,
10     error in judgment, or other fault on the part of a
11     dermatologist?
12                MR. SMART: Objection; form and foundation.
13                You can answer if you understand the question.
14                THE WITNESS: How am I        qualified?
15     BY MR. CURTIN:
16         O.    No, the question is actually, who determines
I1     that you're qualifíed?
18                MR. SMART :    Same ob j ect.ion .

19     BY MR. CURTIN:
20         A.     If you know.
2I         A.     I would have to say my superior and boss, for
,.>.
       lack of a better word.       My department director,       Dr. Al-1en
       Fraulick (phonetic) .
24         O.     If you felt uncomfortable in making a
25     determination regarding fault in a dermatology case, is
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                                                                        Page 18

 1   there a mechanism by which you could have consulted a
 2   dermato logi st ?
 3                MR.      SMART: Objection; form, foundation.          And

 4   are you asking qenerally, or are yoì-r asking here what he
 5   thought ?
 6                MR.      CURTIN: I'm just asking whether that
 1   mechanism exists.
 B   BY MR. CURTIN:
 9          O      If you feel uncomfortable in evaluating the
10   fault of a specialist,          is there a mechanism availabfe by
11   which you can find an equival-ent specialist           to provide
12   input to you?
13          A.     I'll     break the answer to that Ínto two. One is
14   the regulations.           By VA regulatÍons, T cannot do cases
15   which pertain to mental heafth ì or to vision, eye problems
76   in general; or to hearing, audiology.           By VA regulations,
t1   those cases have to be dealt by the applicable expert.                      If
18   I get        and I did, I'm sure over the years, I don't
19   remember detaíls,         but there were cases that were so out of
20   my base of knowledge, experience, I can always                 I
2I   will        when I was in New York, I was the chief,          so I
22   would refer it to the appropriate expert.            Here I'lI       tell
23   my boss that, you know, f cannot do this,           for the sake of
24   the discussion/ neurosurgical case because f have not done
25   any of it.           I have no idea.   It hasn't been in my
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                                                                                Page 19

     1   experience, et cetera, et cetera.                 So yes, there is     a

 2       mechanism.
     3   BY MR. CURTIN:
     4        a.      Did you consult any outside expert in this case?
     5                MR.   SMART: You can answer that question.
     6                THE   VüITNESS: I did not.
     1   BY MR. CURTIN:
     B        ô
              Y.      Okay. You were comfortable wíth                  I take it
     9   you felt   that you coul-d adequately evaluate this case
10       without input from a board certified                 dermatologist?
11                    MR. SMART: Objection.                I'm going to instruct
L2       the wiLness not to ansrder. It calls for his opinion about
13       his analysis of the case and mental processes privilege.
14       So   I'm instructing     him not to answer that question.
15                    MR. CURTIN: I'lL               object that that lacks
I6       foundation.        He's a federal employee; you have to make a
t1       preliminary showing that he has mental processes.
1B                    MR. SMART :    Are you done?
I9                    MR. CURTIN:     t.lì¡:¡¡
                                      vr\qy      .


20                    MR. SMART :    I've instructed him not to answer/
2I       so...
aa
LL                    MR. CURTIN: Nobody likes my jokes.
23       BY MR. CURTIN:
24             O      Did yoll consul-t any medical Iiterature             in
25       Mr. Cherry's case, if yorl recall?
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 1       A.      I do not recall the particulars         of this case/
 2   but. when I sit down as part of t.he general alqorithm as
 3   how I do cases/ I do consult literature           of databases /
 4   websites that are available.          And over the years, I tve
 5   learned to work with them, trust them, and use them.
 6       A.      Now, I see from Exhibit Number L that you
 1   reviewed VA medical records pertaining to Mr. Cherry's
 B   dermatology care; correcL?
 9       AT        reviewed his entire care.         And as you would
10   see in Exhibit A/ page f4, thatrs         SOAZVA JB,    in evidence
11   review, I note that evidence, yes, was reviewed, and the
L2   caption says "c file      tabbed. "    "C file" means the paper
13   folder,   actually the original       paper fofder that the elves
I4   or whomever may have delivered, was available to me.
15         O.  And if you'Il look at page SOAZVA 86, there's               a

I6   listing of material-s that are potentially relevant
71   evidence.
1B               Do you see that?
I9       A.      I do.   And

20               MR. SMART: Let him ask you a question.
2I   BY MR. CURTIN
22       a.      Are those all materials that you reviewed, or
     are they merefy materials that you had available to you?
24       A.      I don't remember the exact det.ails.           However,
25   based on my work experience, I have              I tend to look at
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 ¿
 1   lvyurlv
     vanr. i -o   you to speculate/     is that something you would note
 2   in your report?
 3                  MR. SMART: Generally?
 4                  MR. CURTIN: Yes.
 5                  THE WITNESS: Generally.         It is important to
 6   pass the mere speculatíon, meaning there's only
 7   speculation.       If there's only speculation to guide, this
 B   is an inabitlty      to form a valid opinion or an opinion of
 9   vafídíty.       However, if there is data, knowledge,
10   scientific      evidence, caÌl it what you may, availabfe where
11   you can make a             I wouldn't call it a leap of faith,       but
12   you can make a bit of an extrapolation that is not mere
13   speculation that is within realm of vafíd opinion.
I4   Obviously, j-n medicíne Lhere's not 2-plus-2-equals-4
15   validity.       Just doesn't exist.      But you can get close to
16   it,   or you can get very far from such validity.            That's
I1   the thing.       If it's     based on just speculatlon, it's        not a
1B   valid opinion.
19   BY MR. CURTIN:
20         A.       Okay. lf you feel- like you can't form an
2L   opinion that's not speculative, do you put that in your
22   report, was, I think, fly question.
23         A.       Yes. If the opiníon requested, they asked me a
24   question, I cannot answer it by anything but mere only
25   speculation, f'lI          put it down. I'lI    sây, "I cannot render
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 1   a valid opinion here. tt
 z       a.    So the opinions that you put down are opinions
 3   that you feel are factually based and supported by
 4   evidence ?
 5                 MR.   SMART: Objection to form.          Basically just
 6   generally that.'s his view?
 1                 THE WITNESS: Can you reread me the question,

 B   please ?
 9                 (The record was read.    )



10                 THE WTTNESS: Yes.      Not       as I said, the
11   validity     is never a certainty.         It can be      and I would
I2   put that this is          we have specific language to deal wíth
13   those things.       We'll put it "as likely      as not, " "Iess
I4   likely     than not, " "most probably, " "improbable, " yes. I
15   1-ry to put the facts and evidence and knowledge first              and
I6   foremost, and then move from there to try and establish                 an

I1   opinion of          a good answer t.o the question I'm being
1B   as ked.

L9   BY MR. CURTIN:
20        a.       Okay. And is that language then that you put
2I   into the report if you feel something is fess probable
22   than not?
23                 f don't even know what that means. Never mind.
24                 If you feel- something is as probable as noL, is
25   that language you woul-d put in your report?
